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                            IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA


   The State of Missouri, et al.,

          Plaintiffs,

                  v.
                                                             Civil Action No. 22-cv-1213
   President Joseph R. Biden, Jr., in his official
   capacity as President of the United States of
   America, et. al.,

          Defendants.


   REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO ADJOURN DEPOSITION OF
       JENNIFER R. PSAKI PENDING THIS COURT’S CONSIDERATION OF
         RELATED COURT OF APPEALS ORDER OF NOVEMBER 21, 2022

         The parties agree that, in light of the Fifth Circuit’s recent order in In re Murthy, No. 22-

  30697, further proceedings are needed to address whether the deposition of former White House

  Press Secretary Jennifer Psaki should take place. See Pls.’ Opp’n to Mot. to Adjourn 1, ECF No.

  131. The Fifth Circuit did not address that deposition because Ms. Psaki, as a former employee,

  had filed a motion to quash the deposition and thus no mandamus petition had yet been filed as to

  that deposition. But the Fifth Circuit’s reasoning applies equally to Ms. Psaki, and Defendants

  accordingly seek to place her deposition on an equal footing with those expressly addressed in the

  Fifth Circuit’s order. That order contemplates that before any such deposition occurs there will be

  further proceedings in this Court and then, if this Court again concludes that a deposition is

  warranted, further proceedings in the Fifth Circuit. Consistent with that order, Defendants have

  requested that this Court adjourn Ms. Psaki’s deposition until it has the opportunity to reconsider

  the grounds for her deposition in light of Murthy, with the adjournment to continue, if this Court




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  reaffirms its authorization of her deposition, until the disposition of any mandamus petition filed

  by the Government within 14 days of such order.

         Plaintiffs do not contest most of the premises of the Government’s motion. Other than the

  procedural posture, they identify no reason the Fifth Circuit’s reasoning does not apply to Ms.

  Psaki. They state that their supplemental brief regarding In re Murthy, due tomorrow, will address

  the “potential impact on the deposition of Ms. Psaki.” Id. And they even agree that an adjournment

  of Ms. Psaki’s deposition for some period of time is warranted, although they contend that the

  deposition should be immediately rescheduled now, to occur only four to fifteen days later than its

  current date. See id. at 1 (requesting order that the deposition currently scheduled for December 8

  instead take place between December 12 and 23).

         Thus, the question presented by Defendants’ Motion to Adjourn Ms. Psaki’s deposition is

  narrow: Should the adjournment (as the Government has proposed) place Ms. Psaki’s deposition

  on the same track as the depositions at issue in Murthy, or should the Court (as Plaintiffs now

  suggest) reschedule the deposition in a manner that might require further emergency proceedings

  in the Fifth Circuit to allow that Court to consider the depositions still at issue together? All

  relevant factors weigh in favor of the Government’s proposal.

         1. Plaintiffs do not dispute that adjourning Ms. Psaki’s deposition would be consistent

  with the Fifth Circuit’s decision in Murthy, which stayed the depositions of three other high-

  ranking officials: Surgeon General Vivek Murthy, Cybersecurity and Infrastructure Security

  Agency Director Jen Easterly, and White House Director of Digital Strategy and Deputy Assistant

  to the President Robert Flaherty. That stay was intended to allow this Court to reconsider whether

  “exceptional circumstances” supported those depositions, including whether the information

  sought may be obtained from “suitable alternative sources.” Murthy Order at 3-4 (quoting In re




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  F.D.I.C., 58 F.3d 1995, 1960 (5th Cir. 1995)). In addition, the Fifth Circuit directed this Court to

  consider whether all “further discovery should be paused until a ruling on” the Government’s

  Motion to Dismiss, id. at 5, which was subsequently filed on November 22, 2022. Ms. Psaki, as a

  former high-ranking official, see Depositions Order 17-18, ECF No. 90, is subject to the same

  “exceptional circumstances” analysis addressed by the Fifth Circuit. Plaintiffs do not suggest

  otherwise, nor do they identify any substantive basis for refusing to apply the Fifth Circuit’s

  reasoning in Murthy to Ms. Psaki. Rather, they agree with Defendants that the parties’

  supplemental briefing on Murthy should address Ms. Psaki’s deposition along with the other high-

  ranking officials. See Pls.’ Opp’n 1. Accordingly, Ms. Psaki’s deposition should be stayed on the

  same terms as the depositions of the three other high-ranking officials while the Court addresses

  the issues required by Murthy.

         Judicial economy decisively favors such a stay, because it provides adequate time for this

  Court and (if necessary) the Fifth Circuit to review the grounds for Ms. Psaki’s deposition—and

  without the need for further emergency briefing by the parties. See Fed. R. Civ. P. 1. Because Ms.

  Psaki was not the subject of the prior mandamus petition, the Government would be required to

  file in the Fifth Circuit another mandamus petition specific to Ms. Psaki if this Court continues to

  conclude that her deposition is warranted. Defendants’ proposal thus provides that Ms. Psaki’s

  deposition would be stayed (as the other three depositions are already stayed) pending the Fifth

  Circuit’s resolution of any such mandamus petition. The proposal would also allow the Fifth

  Circuit to address matters related to the depositions of all four high-ranking officials at the same

  time, following this Court’s consideration of the issues directed by Murthy. Without a stay of Ms.

  Psaki’s deposition, however, the parties may be forced into another round of expedited briefing

  before the Fifth Circuit on a motion to stay while it considers any mandamus petition on any




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  reauthorization of Ms. Psaki’s deposition.

          Defendants’ proposal also advances judicial economy by ensuring the parties do not

  unnecessarily expend resources, while these proceedings are ongoing, to prepare for a deposition

  that may not occur at all. This interest is especially strong here, where the Fifth Circuit has directed

  the Court to consider whether any discovery should proceed before disposition of the

  Government’s Motion to Dismiss. To that end, this Court has asked the parties also to address in

  their supplemental briefing “whether any additional discovery should be paused pending this

  Court’s resolution of Federal Defendants’ forthcoming,” and now-pending, “motion to dismiss.”

  See Order, ECF No. 127. And as Defendants will elaborate in their supplemental briefing directed

  by that order, unless and until this Court resolves the Motion to Dismiss for lack of subject-matter

  jurisdiction (and failure to state a claim), no discovery should proceed. See Steel Co. v. Citizens

  for a Better Env’t, 523 U.S. 83, 94 (1998) (“Without jurisdiction the court cannot proceed at all in

  any cause.” (quoting Ex parte McCardle, 7 U.S. 506, 514 (1868))); see also In re Paxton, No. 22-

  50882, 2022 WL 16921697 at **2-3 (5th Cir. Nov. 14, 2022).

          2. By contrast, Plaintiffs’ proposed four- to fifteen-day adjournment would not ensure that

  the proceedings could be concluded in an orderly fashion before a new deposition date arrives.

  Without any substantive justification for treating Ms. Psaki differently from the deponents at issue

  in Murthy, Plaintiffs urge the Court to order that Defendants provide alternative dates for Ms.

  Psaki’s deposition to take place during the two weeks following the date on which it is currently

  scheduled. See Pls.’ Opp’n at 1 (asking the Court to order that the deposition currently scheduled

  for December 8 instead take place between December 12 and 23). That proposal only undermines

  the interests of judicial economy and imposes potentially unnecessary burdens on all involved. It

  sets the parties up for further emergency motions if the deposition is not set aside pending the




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  proceedings that the Fifth Circuit has made clear should be a prerequisite for a deposition of this

  kind. The proper course is instead, as the Government proposed, to adjourn the deposition on the

  same terms as the other high-ranking officials to allow those proceedings to occur.

         3. As noted, Plaintiffs identify no substantive basis for their refusal to place Ms. Psaki’s

  deposition on the same footing as those that were addressed by the Fifth Circuit. They instead

  oppose Defendants’ Motion for reasons that either misunderstand the nature of Defendants’

  requested adjournment or are irrelevant to the issue at hand.

         First, Plaintiffs assert that adjourning Ms. Psaki’s deposition would unduly delay the

  proceedings because, should the Court determine that her deposition should go forward, the Court

  would need to “reauthorize the deposition,” which would then give Defendants another

  opportunity to file motions to quash or other challenges. Pls.’ Opp’n at 5-6. But there would be no

  basis for Defendants (or Ms. Psaki through private counsel) to refile motions to quash in a separate

  court that have already been transferred to this Court under Federal Rule of Civil Procedure 45;

  Defendants will not pursue such a course of action and have been informed by Ms. Psaki’s counsel

  that they will not do so either. 1 Rather, should this Court determine that Murthy does not require

  it to reconsider the initial authorization of Ms. Psaki’s deposition, the Government may instead

  pursue mandamus relief from the Fifth Circuit. See Defs.’ Mot. to Adjourn 4-5. For that reason,

  Defendants’ Motion to Adjourn requests that if this Court reconfirms Ms. Psaki’s deposition, then




  1 Plaintiffs suggest that it is somehow significant that Ms. Psaki, through private counsel, did not
  join Defendants in their Notice of the transfer of the motions to quash, see Pls.’ Opp’n at 3, but
  there is nothing notable about that. Defendants are the party of record in this case, and the Notice
  simply informed the Court of the transferred motions while asking for an expedited ruling on the
  motions. The Notice expressly indicated Ms. Psaki’s consent to the relief sought. The Motion for
  Adjournment likewise noted Ms. Psaki’s consent to the relief sought herein.


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  it continue the adjournment pending the potential filing of a mandamus petition within 14 days of

  any such order. Id.

         Second, Plaintiffs contend that Defendants’ Motion to Adjourn is “procedurally improper”

  and “reflects gamesmanship” because this Court purportedly lacked jurisdiction to rule on the

  motions to quash transferred from the Eastern District of Virginia to the Western District of

  Louisiana under Rule 45(f). See Pls.’ Opp’n 5-6. Plaintiffs contend, in particular, that Defendants

  sought a ruling from this Court too quickly after the Eastern District of Virginia acted—a peculiar

  ground on which to contend that Defendants are causing undue delay through procedural

  maneuvers. Plaintiffs’ jurisdictional arguments are not only incorrect, but they are also irrelevant

  to whether and for how long Ms. Psaki’s deposition should be adjourned (the subject addressed

  here) or to whether, in light of Murthy, it was appropriate to authorize Ms. Psaki’s deposition in

  the first place (the subject of the parties’ upcoming supplemental briefing). In any event, earlier

  today this Court reissued its order denying the motions to quash, thus resolving any purported

  doubts as to whether the motions have been resolved by a Court having jurisdiction over them. See

  Order, ECF No. 37, In re Psaki, No. 3:22-mc-72 (W.D. La.). 2

         Third, Plaintiffs raise several procedural arguments relating to whether this Court should

  reconsider its authorization of Ms. Psaki’s deposition, but those arguments are likewise irrelevant

  to whether Ms. Psaki’s deposition should be stayed while the Court reconsiders that authorization

  in light of Murthy (and, if necessary, while the Fifth Circuit considers any mandamus petition).

  For example, Plaintiffs assert that Murthy has no bearing on Ms. Psaki’s deposition because the



  2Regardless of whether this Court had jurisdiction to rule on the motions to quash when it did so
  on November 21, 2022, the Court formally acquired jurisdiction by November 23 at the latest, as
  Plaintiffs themselves acknowledge. See Pls.’ Opp’n at 6 (citing ECF No. 36, In re Psaki, which
  notes that the “[o]riginal file copy of transfer order and docket sheet” were “received” on
  November 23).


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  Government did not include her in its initial mandamus petition but instead Ms. Psaki invoked

  Rule 45 procedures (in which the Government participated). Pls.’ Opp’n at 7. To be sure, the Fifth

  Circuit’s order does not address Ms. Psaki by its terms. But its reasoning applies equally to her,

  and that is why this Court should issue a stay parallel to the one issued by the Fifth Circuit as to

  the other high-level officials. And there is no basis for finding fault with the procedural approach

  taken by Ms. Psaki and the Government. As explained in the Government’s mandamus petition,

  because Plaintiffs served Ms. Psaki, a former government employee, with a Rule 45 subpoena

  issued out of the Eastern District of Virginia, Ms. Psaki and the Government appropriately

  followed the procedures in Rule 45 to challenge that subpoena. See Petition for Writ of Mandamus

  at 12 n.2, In re Murthy, No. 22-30697 (“[B]ecause Jennifer Psaki is not a current government

  employee, her deposition will be the subject of motion-to-quash proceedings in the Eastern District

  of Virginia[.]”); see also United States’ Br. ISO Mot. to Quash at 10, ECF No. 8, Psaki v. Missouri,

  et al., 1:22-mc-28 (E.D.V.A.) (explaining that Ms. Psaki’s deposition was subject to the procedures

  set by Rule 45, which applies to former government officials, and thus the Government had not

  sought relief as to Ms. Psaki in its mandamus petition).

         Pursuing those procedures also satisfied the Government’s obligation to exhaust all other

  “adequate means to attain the relief [] desire[d],” prior to seeking mandamus. In re Gee, 941 F.3d

  153, 158 (5th Cir. 2019) (quoting Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 380-81 (2004)).

  Now that the issue of Ms. Psaki’s deposition is before this Court, this Court—rather than the Fifth

  Circuit on mandamus—should make the initial determination whether her deposition continues to

  be warranted in light of Murthy (which was decided the same day on which this Court ruled on the

  transferred motions to quash, before the Government was able to file any mandamus petition

  before the Fifth Circuit). Indeed, this Court’s consideration of Murthy as applied to Ms. Psaki may,




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  depending on the outcome, obviate entirely the need for further mandamus proceedings as to her

  deposition.

          Next, Plaintiffs reference various statements made by Magistrate Judge Davis during the

  hearing on the motions to quash purportedly related to the merits of the motions. See Pls.’ Opp’n

  at 8-9. But Judge Davis plainly refused to rule on the merits and instead transferred the motions to

  this Court. Acting without the benefit of the Fifth Circuit’s ruling in Murthy, Judge Davis’s primary

  concern was with issuing a ruling that might be perceived to deviate from this Court’s ruling

  regarding the appropriateness of the deposition. See Ex. A to Pls.’ Opp’n, Nov. 18 Tr. 40:17-23

  ECF No. 131-1 (finding that the risk of “inconsistent rulings” between the Depositions Order by

  this Court and a ruling on the motions to quash by the Eastern District of Virginia warranted

  transfer of those motions to this Court). His concerns about uniformity undercut Plaintiffs’

  proposal to treat Ms. Psaki’s deposition differently from the other depositions that the Fifth Circuit

  has already analyzed. That is especially so because Judge Davis transferred the motions to quash

  to this Court precisely to ensure that they could be addressed in the context of other proceedings

  in this case—including the proceedings related to the depositions of the current high-ranking

  officials at issue in Murthy. See, e.g., id. 45:2-7 (reasoning that “if the Fifth Circuit says, under the

  circumstances we don’t find that the Apex [d]octrine should apply [to] current officials, [] that

  would impact a judge’s ruling on” the Apex doctrine as applied to “a former member of the White

  House”). For present purposes, however, the only relevant point is that if Plaintiffs believe that

  Judge Davis’s views bear on whether Ms. Psaki’s deposition should proceed, they may address

  those views in their supplemental briefing. The merits of the motions to quash, however, are

  irrelevant to the narrower question presented now: whether Ms. Psaki’s deposition should be




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  adjourned on the same terms as the depositions of the three other high-ranking officials whose

  depositions have been stayed by the Fifth Circuit. As explained, it should.

                                   *       *       *      *       *

         For the reasons given above, and those in Defendants’ Motion for Adjournment, the Court

  should stay the deposition of Ms. Psaki pending further order of this Court and, if the Court re-

  confirms its authorization of Ms. Psaki’s deposition, pending the Fifth Circuit’s disposition of any

  mandamus petition seeking relief from the deposition that may be filed within 14 days of the

  Court’s order.

  Dated: November 28, 2022                 Respectfully submitted,

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